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                          Case No. 24-12311-J

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT


                   UNITED STATES OF AMERICA,
                            Appellant,

                                    v.

  DONALD J. TRUMP, WALTINE NAUTA, and CARLOS OLIVEIRA
                    Defendants-Appellees


             On appeal from the United States District Court
                   for the Southern District of Florida
                    Case No. 23-80101-CR-CANNON


              BRIEF OF AMICI CURIAE CITIZENS FOR
          RESPONSIBILITY AND ETHICS IN WASHINGTON,
            NANCY GERTNER, STEPHEN GILLERS, AND
           JAMES J. SAMPLE, SUPPORTING APPELLANT
          UNITED STATES OF AMERICA AND REVERSAL OF
                          JUDGMENT

                          STEVEN A. HIRSCH
                    KEKER, VAN NEST & PETERS LLP
                          633 Battery Street
                     San Francisco, CA 94111-1809
                       Telephone: 415 391 5400
                       Facsimile: 415 397 7188

                       Attorneys for Amici Curiae
  Citizens for Responsibility and Ethics in Washington, Nancy Gertner,
                  Stephen Gillers, and James J. Sample




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                 CORPORATE DISCLOSURE STATEMENT

          Citizens for Responsibility and Ethics in Washington (“CREW”)

submits this corporate disclosure statement pursuant to Federal Rules

of Appellate Procedure 26.1 and 29 and Eleventh Circuit Rule 26.1-2.

          CREW has no parent company or other identifiable related legal

entities, and no trial judges, attorneys, persons, associations of persons,

firms, partnerships, or corporations that have an interest in the

outcome of the particular case or appeal, including subsidiaries,

conglomerates, affiliates, parent corporations, or any publicly held

corporation, has a ten percent or greater ownership interest in CREW.

                CERTIFICATE OF INTERESTED PERSONS

          Pursuant to Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rules 26.1-1 and 26.1-2, and based on the Certificate

of Interested Persons set forth on pages C-1 to C-7 of the Brief of the

United States filed on August 26, 2024 [Doc. 18], the undersigned

hereby certifies that the following is a list of persons and entities who

have an interest in the outcome of this case:

          1. Advance Publications, Inc.

          2. Alonso, Cristina

          3. America First Legal Foundation


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          4. American Broadcasting Companies, Inc., d/b/a ABC News

          5. Ayer, Donald

          6. Blackman, Joshua

          7. Blanche, Todd

          8. Bloomberg, L.P.

          9. Bove, Emil

          10. Bowman, Chad

          11. Bratt, Jay

          12. Cable News Network, Inc.

          13. Calabresi, Steven

          14. Caldera, Louis

          15. Cannon, Hon. Aileen

          16. Cate, Matthew

          17. CBS Broadcasting, Inc. o/b/o CBS News

          18. Citizens United

          19. Citizens United Foundation

          20. CMG Media Corporation

          21. Coleman, Tom

          22. Conway, George



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          23. Cooney, J.P.

          24. Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-

          Constitution

          25. Dadan, Sasha

          26. De Oliveira, Carlos

          27. Dow Jones & Company, Inc., publisher of The Wall Street

Journal

          28. Dreeben, Michael

          29. Edelstein, Julie

          30. Fields, Lazaro

          31. Fitzgerald, Patrick

          32. Fort Myers Broadcasting Company

          33. Gerson, Stuart

          34. Goodman, Hon. Jonathan

          35. Gray Media Group, Inc. (GTN)

          36. Guardian News & Media Limited

          37. Harbach, David

          38. Hulser, Raymond

          39. Insider, Inc.



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          40. Irving, John

          41. Kise, Christopher

          42. Lacovara, Philip Allen

          43. Landmark Legal Foundation

          44. Lawson, Gary

          45. Los Angeles Times Communications LLC, publisher of The Los

          Angeles Times

          46. Maynard, Hon. Shaniek Mills

          47. McKay, John

          48. McNamara, Anne

          49. Meese, Edwin

          50. Mishkin, Maxwell

          51. Mukasey, Hon. Michael B.

          52. Murrell, Larry Donald

          53. National Cable Satellite Corporation d/b/a C-SPAN

          54. National Public Radio, Inc.

          55. Nauta, Waltine

          56. NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of

          Comcast Corporation (CMCSA)



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          57. Orlando Sentinel Media Group, publisher of the Orlando

Sentinel

          58. Pearce, James

          59. Pellettieri, John

          60. POLITICO LLC

          61. Potter, Trevor

          62. Radio Television Digital News Association

          63. Raul, Alan Charles

          64. Reinhart, Hon. Bruce E.

          65. Reuters News & Media, Inc.

          66. Russell, Lauren

          67. Salario, Samuel

          68. Sasso, Michael

          69. Schaerr, Gene

          70. Seligman, Matthew

          71. Smith, Abbe

          72. Smith, Fern

          73. Smith, Jack

          74. State Democracy Defenders Action



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          75. Sun-Sentinel Company, LLC, publisher of the South Florida

Sun Sentinel

          76. TEGNA, Inc. (TGNA)

          77. Telemundo Network Group, LLC d/b/a Noticias Telemundo

          78. Thakur, Michael

          79. The Associated Press

          80. The E.W. Scripps Company (SSP)

          81. The McClatchy Company, LLC (MNI) d/b/a the Miami Herald

          82. The New York Times Company (NYT)

          83. The Palm Beach Post and USA TODAY, publications operated

by subsidiaries of Gannett Co., Inc. (GCI)

          84. Thompson, Larry

          85. Tillman, Seth Barrett

          86. Tobin, Charles

          87. Torres, Hon. Edwin

          88. Trent, Edward H.

          89. Tribe, Laurence

          90. Troye, Olivia

          91. Trump, Donald J.



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          92. Trusty, James

          93. Twardy, Stanley

          94. United States of America

          95. Univision Networks & Studios, Inc.

          96. VanDevender, Cecil

          97. Weiss, Stephen

          98. Weld, William

          99. Wharton, Kendra

          100. Whitman, Christine Todd

          101. Woodward, Stanley

          102. WP Company LLC d/b/a The Washington Post

          103. WPLG, Inc.

                                        Respectfully submitted,

Dated: September 3, 2024                KEKER, VAN NEST & PETERS LLP



                                        /s/Steven A. Hirsch
                                        STEVEN A. HIRSCH
                                        Eleventh Circuit Bar No: 022032412
                                        California Bar No.: 171825
                                        Attorneys for Amici




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                            I.    INTRODUCTION 1

          Amici urge the Court, if it reverses the judgment in this case, to

order the case reassigned to another district judge on remand, pursuant

to the Court’s supervisory authority under 28 U.S.C. § 2106.

          If the Court reverses Judge Aileen M. Cannon’s ruling in this

matter, it will be the third time in under three years that it has had to

do so in a seemingly straightforward case about a former president’s

unauthorized possession of government documents.

          But citing the mere number and frequency of reversals does not

fully capture the problem; for some of Judge Cannon’s rulings have been

so unprecedented that affirming them would, in this Court’s words,

“violate bedrock separation-of-powers limitations” and require “a




1
 No party’s counsel authored this brief in whole or in part; no party or
party’s counsel contributed money that was intended to fund preparing
or submitting this brief; and no person—other than the amici curiae,
their members, or their counsel—contributed money that was intended
to fund preparing or submitting this brief.
Throughout this brief, unless otherwise indicated, emphases were
added to quotations while internal quotation marks, citations, footnotes,
ellipses, and the like were omitted from them. The URLs of articles
cited herein are shown in the Table of Citations.


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radical reordering of our caselaw limiting the federal courts’

involvement in criminal investigations.” 2

          A third reversal now will come after Judge Cannon dismissed this

case in a decision that hinged on ignoring the plain text of four federal

statutes and dismissing as “dicta” a landmark Supreme Court opinion

confirming the Attorney General’s power to appoint a Special Counsel.

A reasonable member of the public could conclude, as many have, that

the dismissal was the culmination of Judge Cannon’s many efforts to

undermine and derail the prosecution of this case.

          Early on, Judge Cannon expressed her belief that the criminal

prosecution of a former president entails “stigma . . . in a league of its

own” and “reputational harm of a decidedly different order of

magnitude” 3—a belief at odds with “our Nation’s foundational principle

that our law applies to all, without regard to numbers, wealth, or

rank.” 4 A reasonable observer could conclude that she has acted in

accordance with a conviction that prosecuting a former president for


2
 Trump v. United States, 54 F.4th 689, 701 (11th Cir. 2022) (per
curiam) [hereinafter Trump II].
3
    Trump v. United States, 625 F. Supp. 3d 1257, 1266 (S.D. Fla. 2022).
4
    Trump II, 54 F.4th at 701.


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retaining official documents—over 100 of which are marked classified—

is an intolerable affront to his dignity.

          Here, we focus on three controversies that, considered together,

afford the Court more-than-adequate grounds to reassign the case upon

remand: (1) Judge Cannon’s unprecedented assertion of “equitable

jurisdiction” to block the Government from using or even viewing

documents seized at Mar-a-Lago pursuant to a lawful search warrant;

(2) Judge Cannon’s inexplicable call for jury instructions on a spurious

legal defense that would have gutted the Government’s case had it ever

gone to trial; and (3) Judge Cannon’s failure over the course of one year

to move the case forward in any significant way—until a one-Justice

concurrence in the Supreme Court’s presidential-immunity opinion

expressed approval of the novel constitutional theory that allowed her

to end the case.

          Viewed together, these events confirm that Judge Cannon “has

engaged in conduct that gives rise to the appearance of . . . a lack of

impartiality in the mind of a reasonable member of the public.” United

States v. Torkington, 874 F.2d 1441, 1446 (11th Cir. 1989). They also

confirm that a reasonable member of the public would believe that she



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cannot be counted on to put aside her negative views of the case, if and

when it returns to her courtroom.

          Accordingly, as discussed below, the Court should order this case

reassigned to another district judge on remand.


    II.      STATEMENT OF AMICI'S IDENTITY, INTERESTS IN
             CASE, AND SOURCE OF AUTHORITY TO FILE

          Citizens for Responsibility and Ethics in Washington (“CREW”) is

a nonpartisan, nonprofit organization that advocates for ethical,

accountable, and open government. CREW has an interest in ensuring

that our legal system enforces the ethics laws, rules, and canons

applicable to federal judges so that our justice system treats all parties

impartially. CREW has substantial expertise on matters related to

judicial ethics, including testifying before the House and Senate at

hearings on the topic, providing public analysis of judicial-ethics rules,

and filing ethics complaints when federal judges violate those rules.

          Nancy Gertner is a retired United States District Court Judge and

a Senior Lecturer at Harvard Law School, where she teaches various

subjects, including criminal law, criminal procedure, and forensic

science and sentencing.




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          Stephen Gillers is emeritus professor of law at the New York

University School of Law. He has written widely on legal and judicial

ethics in law reviews and in the legal and popular press.

          James J. Sample is Professor of Civil Procedure, Constitutional

Law, and Federal Courts at the Maurice A. Deane School of Law at

Hofstra University; is the author or numerous articles and reports on

judicial conduct and ethics; and is the co-author of Judicial Conduct

and Ethics (6th ed.), the leading desk-reference treatise on that subject.

          Federal Rule of Appellate Procedure 29(a)(3) and Eleventh Circuit

Rule 29-1 are the source of amici’s authority to file this brief.


                     III. STATEMENT OF THE ISSUE

          If the Court reverses the district court’s judgment in this case and

remands the case for further proceedings, should it also exercise its

supervisory authority under 28 U.S.C. § 2106 to instruct the Chief

Judge of the Southern District of Florida to reassign the case to a

different district judge?




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               IV.   FACTS BEARING ON REASSIGNMENT

A.        The special-master controversy

          FBI agents searched former President Donald J. Trump’s Mar-a-

Lago resort on August 8, 2022 as part of an investigation into whether,

after leaving office, he had illegally retained national-defense

documents and other government documents and had obstructed the

National Archives’ efforts to recover them. The search resulted in the

seizure of approximately 13,000 documents totaling more than 22,000

pages of material. More than 100 documents were marked confidential,

secret, or top secret. 5

          Soon after the search, Trump filed a lawsuit against the

government in the form of a motion seeking, inter alia, appointment of a

special master and an injunction against the Government’s review of

the seized materials until that appointment was made. 6 Judge Aileen

M. Cannon was assigned to the case. Because she “could not identify a

sufficient jurisdictional basis for [Trump’s] filing,” she requested

jurisdictional briefing. 7 Trump’s response contained just one paragraph


5
    Trump II, 54 F.4th at 696.
6
    Id. at 696.
7
    Id.


                                       6
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applying the relevant legal factors for invoking the court’s “equitable

jurisdiction.” 8

          On September 5, 2022, Judge Cannon “[s]hock[ed] legal experts

across ideological lines” 9 by ordering the appointment of a special

master to review the massive trove of seized records. Judge Cannon

wrote that she was issuing the order “mindful of the need to ensure at

least the appearance of fairness and integrity under the extraordinary

circumstances presented” and “[p]ursuant to the Court’s equitable

jurisdiction and inherent supervisory authority.” 10

          The order granted the special master broad powers to evaluate

claims of both attorney-client and executive privilege. 11 A subsequent

clarifying order expressly barred the Government, pending issuance of

the Special Master’s recommendations, from further use of the content

of the seized materials for criminal investigative purposes, including



8
    Id. at 697–98.
9
 Charlie Savage & Alan Feuer, Judge in Trump Documents Case
Rejected Suggestions to Step Aside, N.Y. TIMES, June 20, 2024
[hereinafter Step Aside].
10
  Trump v. United States, 625 F. Supp. 3d 1257, 1261 (S.D. Fla. 2022)
[hereinafter Special-Master Order]; accord Trump II, 54 F.4th at 697.
11
     Special-Master Order at 1268–71.


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presenting those materials to a grand jury or using their contents to

conduct witness interviews. 12 Particularly noteworthy was Judge

Cannon’s suggestion that some White House files could be permanently

withheld from federal investigators under executive privilege, 13 a notion

“widely seen as dubious since it ha[d] never successfully been made in a

criminal case.” 14

          Equally noteworthy was Judge Cannon’s assertion that a former

president’s unique reputational interests call for extraordinary

procedural protections in the context of a criminal prosecution: “As a

function of Plaintiff’s former position as President of the United States,

the stigma associated with the subject seizure is in a league of its own.

A future indictment, based to any degree on property that ought to be

returned, would result in reputational harm of a decidedly different

order of magnitude.” 15 She likewise wrote that her decision to exercise

equitable jurisdiction “[took] into account the undeniably



12
  Trump v. United States, 2022 WL 4291119, at *3 (S.D. Fla. Sept. 15,
2022).
13
     See Special-Master Order at 1270.
14
     Step Aside.
15
     Special-Master Order at 1266.


                                      8
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unprecedented nature of the search of a former President’s

residence[.]” 16 Again, while acknowledging that special-master review

for attorney-client privilege ordinarily is reserved for materials seized

from law offices, Judge Cannon “[did] not see why these concerns would

not apply . . . to the office and home of a former president.” 17 And yet

again, when justifying her injunction against the Government’s use of

the seized documents, Judge Cannon opined that “these unprecedented

circumstances call for a brief pause to allow for neutral, third-party

review[.]” 18

          On September 15, 2022, Judge Cannon denied the Government’s

motion for a stay pending appeal of her order. 19 But in a 29-page

opinion issued on September 21, 2022, this Court granted the

Government’s request for a partial stay, finding that the Government

had established a substantial likelihood of success on the merits. 20




16
     Id. at 1267.
17
     Id. at 1270 n.14.
18
     Id. at 1274.
19
     Trump v. United States, 2022 WL 4291119 (S.D. Fla. Sept. 15, 2022).
20
  Trump v. United States, 2022 WL 4366684, at *2 (11th Cir. Sept. 21,
2022) (per curiam) [hereinafter Trump I].


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          On December 1, 2022, this Court issued a decision holding that

the district court had lacked “equitable jurisdiction” to block the United

States from using lawfully seized records in a criminal investigation.

Trump v. United States, 54 F.4th 689, 693 (11th Cir. 2022) (per curiam)

[hereinafter Trump II].

          This Court’s decision marked the wholesale repudiation of Judge

Cannon’s view that former Presidents are entitled to extraordinary

protections in criminal investigations. Creating a “special” form of

equitable jurisdiction to benefit former presidents, this Court explained,

“would defy our Nation’s foundational principle that our law applies to

all, without regard to numbers, wealth, or rank.” Id. at 701.

          Emphasizing the narrow and exceptional scope of “equitable

jurisdiction,” id. at 697, the Court found that none of the four stringent

equitable-jurisdiction factors laid down in Richey v. Smith 21 had been

met. The first factor—indispensable to any invocation of equitable

jurisdiction—is that the government displayed a “callous disregard” for

the plaintiff’s constitutional rights. Trump II, 54 F.4th at 697. As to this

factor, “[t]he district court’s entire reasoning . . . was that it ‘agrees with


21
     See Richey v. Smith, 515 F.2d 1239, 1243–44 (5th Cir. 1975).


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the Government that . . . there has not been a compelling showing[.]’”

Id. at 698. As to the second factor—whether the plaintiff has an

individual interest in and need for the material seized—Trump had

failed to make any specific showing; yet “[t]he district court was

undeterred by this lack of information” and had ruled erroneously that

the factor was met “based on the volume and nature of the seized

material.” Id. at 698–99. As to the third factor—whether the plaintiff

would be irreparably injured if the property were not returned—Trump

again had made no adequate showing, “[a]nd again, the district court

stepped in with its own reasoning,” which the Court found overbroad as

it “would apply to nearly every subject of a search warrant.” Id. at 699–

700. And as to the fourth factor—whether the plaintiff has an adequate

remedy at law—“the district court’s [negative] answer was . . . not a

sufficient justification,” id. at 700, for “[i]f there has been no

constitutional violation—much less a serious one—then there is no

harm to be remediated in the first place.” Id. at 701.

          The Court concluded that affirming Judge Cannon’s order would

require either allowing any subject of a search warrant to block

government investigations, or the creation of a special rule for former



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presidents. Either approach would “violate bedrock separation-of-

powers limitations” and require “a radical reordering of our caselaw

limiting the federal courts’ involvement in criminal investigations.”

Trump II, 54 F.4th at 701. Accordingly, the Court “agree[d] with the

government that the district court [had] improperly exercised equitable

jurisdiction” and that dismissal of Trump’s action was required. Id. at

701–02.

B.        The jury-instruction controversy

          On June 8, 2023, the Government unsealed a 37-count indictment

of Trump, alleging, inter alia, 31 violations of the Espionage Act as well

as charges of obstruction and making false statements. By random

assignment, Judge Cannon was selected from a pool of ten judges to

preside over the case.22

          On February 22, 2024, Trump’s lawyers filed four motions to

dismiss a case that “many legal experts consider[ed] the most ironclad

of the four against him.” 23 One motion argued that, under the



 Charlie Savage, A Trump-Appointed Judge Who Showed Him Favor
22

Gets the Documents Case, N.Y. TIMES, June 13, 2023.
23
  Alan Feuer, Trump Seeks to Dismiss Classified Documents Case, N.Y.
TIMES, Feb. 23, 2024.


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Presidential Records Act (“PRA”), Trump possessed “unreviewable

discretion” to “designate the records at issue as personal.” 24

          At a hearing on March 14, 2024, Judge Cannon appeared to reject

the PRA defense, noting that the Special Counsel had cited case law

that the purported defense “would effectively gut the PRA altogether”

by “permit[ting] unfettered classification of, clearly, presidential records

as personal without any possibility for judicial review.” 25

          But four days later, on March 18, 2024, Judge Cannon ordered the

defense and the Government to submit competing drafts of jury

instructions on the very PRA defense that she had seemed to reject at

the hearing. And she further ordered that the draft instructions must

assume that the following “scenarios” were “correct formulations of the

law.” 26 Scenario (a) posited that the jury in an Espionage Act

prosecution may “make a factual finding as to whether the government

has proven beyond a reasonable doubt that [a record retained by a

former president] is personal or presidential using the definitions set


24
     Id.; ECF 327 at 1.
25
  ECF 404 at 97:1–7; Alan Feuer, Judge Rejects Trump Dismissal Effort
in Classified Documents Case, N.Y. TIMES, Apr. 4, 2024.
26
     ECF 407 at 2.


                                       13
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forth in the [PRA].” 27 Scenario (b) posited that a president has “sole

authority under the PRA to categorize records as personal or

presidential during his/her presidency”; that “[n]either a court nor a

jury is permitted to make or review such a categorization decision”; and

that an outgoing president’s decision to withhold records from the

National Archives must be deemed to be his “categorization of those

records as personal under the PRA.” 28

           The New York Times reported that the May 18 order “seemed to

embrace one of Mr. Trump’s most brazen defenses, leaving open the

possibility that [Judge Cannon] could let the charges go to trial and

then move to acquit the former president near the end of the proceeding

by declaring that the government had failed to prove its case.” 29 The

order also appeared to flout this Court’s finding, set forth in its order

partially staying the special-master order, that Trump “neither owns

nor has a personal interest in” the classified documents. 30



27
     Id.
28
     Id.
29
  Alan Feuer, Judge in Trump Documents Case Draws Attention for
Slow Pace, N.Y. TIMES, Mar. 19, 2024 [hereinafter Slow Pace].
30
     Trump I, at *12.


                                       14
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          Realizing that instructions embodying these “scenarios” would

torpedo its case, the Government filed a sharply worded response

informing Judge Cannon that both of her scenarios rested on the

“fundamentally flawed legal premise” that the PRA’s distinction

between “personal” and “Presidential” records determines whether a

former president is “authorized” under the Espionage Act to possess and

improperly store highly classified documents. 31 In truth, the

Government asserted, “based on the current record, the PRA should not

play any role at trial at all.” 32 The Government demanded that Judge

Cannon determine well in advance of trial whether this flawed premise

was correct as a matter of law so as to leave time for the Government to

seek mandamus relief from this Court before jeopardy attached. 33 And

the Government pointed out that Trump’s resort to the PRA was an ad

hoc rationalization with no basis in the facts of the case, as Trump had

never represented to the court that he had in fact designated any

documents as “personal” under the PRA—and he never had. 34


31
     ECF 428 at 1.
32
     Id. at p. 2
33
     Id. at p. 2.
34
     Id. at p. 4.


                                       15
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          Following a heated and contentious hearing, 35 Judge Cannon

issued an order rejecting Trump’s motion to dismiss based on the PRA

defense but suggesting that she might allow something similar to be

raised in front of the jury during trial. She called the Government’s

demand that she settle the PRA-defense issue once and for all, “prior to

the presentation of trial defenses and evidence,” “unprecedented and

unjust.” 36 And she defended her decision to request the jury instructions

as “a genuine attempt” to “better understand the parties’ competing

positions and the questions to be submitted to the jury in this complex

case of first impression.” 37

C.        The undue-delay controversy.

          Two things were known to the entire world in 2023–2024: Donald

Trump historically had pursued a strategy of obstruction and delay in

legal cases brought against him; 38 and if he won reelection, he was



 Alan Feuer, Frustrated Prosecutors Ask Trump Documents Judge to
35

Act on Key Claim, N.Y. TIMES, Apr. 4, 2024.
36
  United States v. Trump, 2024 WL 1456090, at *1 (S.D. Fla. Apr. 4,
2024).
37
  Id.; see also Alan Feuer & Maggie Haberman, Jack Smith Gets a Bit
of What He Wanted, N.Y. TIMES, Apr. 4, 2024.
38
  William K. Rashbaum et al., Donald Trump’s Time-Tested Legal
Strategy: Attack and Delay, N.Y. TIMES, Apr. 2, 2023.


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likely to pardon himself and/or instruct his attorney general to drop the

federal cases pending against him. 39

          That is the context for evaluating the undeniable fact that, before

administering the coup de grâce that ended the case, Judge Cannon

failed to resolve numerous pretrial motions and issues, leading many to

suspect—rightly or wrongly—that she hoped the case would meet its

doom in a second Trump administration.

          By March of 2024, a strong pattern of delay had emerged.

Although both the Government and the defense initially had agreed

that the trial could begin in the summer of 2023,40 Judge Cannon still

had not set a trial date and had “allow[ed] a logjam of unresolved issues

to build up on her docket.” 41 The proceedings were characterized by

“days of hearings on long-settled issues” and “baseless motions that

inexplicably remain[ed] pending, like the claim that the case should be



 U.S. News Staff, All of Trump’s Legal Woes, Explained, U.S. News,
39

Aug. 28, 2024.
40
  See ECF 28 (setting August 14, 2023 trial date). The Government
later moved the court to continue the trial date to December 11, 2023.
ECF 34. Defendants responded that no new date should be set. ECF 66.
Judge Cannon then set a trial date of May 24, 2024, ECF 83, which she
vacated on May 7, 2024.
41
     Slow Pace.


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dismissed because Joe Biden, Mike Pence, and Hillary Clinton were not

prosecuted for similar conduct. Nor ha[d] Cannon addressed Trump’s

presidential immunity claim even though the allegedly illegal conduct—

the wrongful retention of national security documents—occurred after

Trump’s presidency ended.” 42

          Judge Cannon’s delays were not entirely attributable to the

complexity of the case. Indeed, a former CIA lawyer experienced in

Espionage Act prosecutions wrote in May 2024 that “if the defendant

were not Donald Trump, this would be a relatively routine Espionage

Act prosecution for unlawful retention of classified records.” 43 Yet, over

the course of eleven months, Judge Cannon had made “almost no

progress” to achieve any of what the author described as the three main

purposes of criminal pretrial litigation: ensuring that the defense gets




 Stephen Gillers & Nancy Gertner, Judge Aileen Cannon Is Slow-
42

Walking the Trump Documents Case, BOSTON GLOBE, June 29, 2024.
43
  Brian Greer, It Is Inexcusable How Judge Cannon Is Delaying the
Trump Documents Case, N.Y. TIMES, May 18, 2024 [hereinafter
Inexcusable]; see also Alan Feuer, Emerging Portrait of Judge in Trump
Documents Case: Prepared, Prickly and Slow, N.Y. TIMES, July 15, 2024
[hereinafter Emerging Portrait].


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access to all discoverable material; resolving potentially dispositive

motions; and determining the trial’s structure. 44

           As to the scope of discovery, Judge Cannon had failed for four

months to rule on Trump’s motion to compel more discovery from the

government. 45 As to dispositive motions, Judge Cannon had ruled on

only two of the seven that Trump had filed, while insisting on extensive

hearings for each one. 46 And as to trial’s structure, Judge Cannon had

“not yet addressed a single substantive issue.” 47 Still ahead lay

decisions about presidential immunity, attorney-client privilege, and

protection of classified information under the Classified Information

Protection Act (“CIPA”). 48 Judge Cannon’s delays were partly

attributable to her refusal to delegate pretrial motions to a magistrate

judge—a departure from normal practice that maximized her control

over the case. 49



44
     Inexcusable.
45
     Id.
46
     See Inexcusable.
47
     Id.
48
     Id.
49
     Step Aside.


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          On May 7, 2024, Judge Cannon effectively took the case off

calendar, vacating the May 20, 2024 trial date that she had previously

set and writing that it would be “imprudent and inconsistent with the

Court’s duty” to set a new trial date before she had finished resolving

“the myriad and interconnected pre-trial and CIPA issues remaining

and forthcoming.” 50 “Regardless of her motives,” the Times observed,

“Judge Cannon has effectively imperiled the future of a criminal

prosecution that once seemed the most straightforward of the four Mr.

Trump is facing.” 51

          On July 1, 2024, the U.S. Supreme Court issued its landmark

decision on presidential immunity from prosecution. See Trump v.

United States, 144 S. Ct. 2312, 2328, 2331–32 (2024). Justice Thomas

wrote separately to question whether the Special Counsel’s office had

been created and filled in accordance with the Constitution’s

Appointments Clause. Id. at 2347–52 (Thomas, J., concurring). No other

justice joined his concurrence.



50
  United States v. Trump, 2024 WL 2032996, at *1 (S.D. Fla. May 7,
2024); Alan Feuer, Judge Postpones Start of Trump Documents Trial
Without New Date, N.Y. TIMES, May 7, 2024.
51
     Emerging Portrait.


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          Although Judge Cannon had resolved dispositive motions at a

glacial pace (if at all) up to that point, she now moved with alacrity to

end the case. Only two weeks elapsed between Justice Thomas’s

concurrence and her issuance of a 93-page opinion dismissing the case

based on the unconstitutional-appointment theory, augmented by an

additional unconstitutional-spending theory.


                   V.    SUMMARY OF THE ARGUMENT

          If this Court reverses the judgment, it also should order the case

reassigned to another district judge pursuant to 28 U.S.C. § 2106

because the case satisfies all three Torkington factors for reassignment.

          A.   Judge Cannon would have difficulty putting her

previous views and findings aside on remand. A reversal here

would mean that the Court has had to reverse Judge Cannon three

times—each time because she reached out to adopt pro-defense

practices and theories that directly contradicted longstanding law. Her

rulings and other conduct create the appearance of an unshakeable

conviction that subjecting a former president to ordinary criminal

procedures represents an intolerable affront to his dignity.




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          Judge Cannon’s unprecedented ruling blocking the Government

from using or viewing lawfully seized evidence, coupled with her

demand that the parties draft jury instructions embodying Trump’s

baseless PRA defense, would suggest to a reasonable member of the

public that her biases will infect and distort a trial on remand.

          B.   Reassignment is appropriate to preserve the

appearance of justice. Even before she dismissed the case on novel

grounds that ignored both statutory authority and Supreme Court

precedent, Judge Cannon’s other extraordinary rulings and sluggish

case administration had provoked well-founded concerns that she might

be biased against the Government’s case and unable to manage that

case impartially.

          C.   The gains realized from reassignment would outweigh

any waste or duplication. Reassignment will not cause undue waste

or duplication, as the case has yet to be tried—indeed, much of the

district court’s pretrial work remains unfinished. And prior published

opinions will help the next district judge master the essential facts and

issues in the case.




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                              VI.   ARGUMENT

          The federal statute governing reassignment on remand, 28 U.S.C.

§ 2106, provides in part that any appellate court “may remand the

cause and . . . require such further proceedings to be had as may be just

under the circumstances.” This language authorizes appellate courts to

reassign a case on remand to a different district-court judge where the

original judge “has engaged in conduct that gives rise to the appearance

of impropriety or a lack of impartiality in the mind of a reasonable

member of the public.” United States v. Torkington, 874 F.2d 1441, 1446

(11th Cir. 1989); see also Liteky v. United States, 510 U.S. 540, 554

(1994) (citing § 2106 as a basis for appellate courts’ reassignment

power).

          Reassignment recognizes that “the judicial system has the

obligation of preserving public confidence in the impartial and fair

administration of justice. If a district judge’s continued participation in

a case presents a significant risk of undermining this public confidence,

this Court has the authority and the duty to order the case reassigned

to a different district judge.” Id. When reassigning a case, this Court

“act[s] with the sensitivity that it is . . . of fundamental importance that




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justice should not only be done, but should manifestly and undoubtedly

be seen to be done.” United States v. White, 846 F.2d 678, 696 (11th Cir.

1988) (emphases in original).

          Reassignment may be ordered “even if there is no evidence that

the judge is vindictive or biased.” United States v. Shaw, 426 Fed. App’x

810, 815 (11th Cir. 2011) (per curiam). In such cases, this Court

considers “at least” three elements when determining whether to

reassign a case: “(1) whether the original judge would have difficulty

putting [her] previous views and findings aside; (2) whether

reassignment is appropriate to preserve the appearance of justice; [and]

(3) whether reassignment would entail waste and duplication out of

proportion to gains realized from reassignment.” Torkington, 874 F.2d

at 1447.

          Under the Torkington test, “[r]eassignment may be appropriate,

for example, if a judge conducts a trial in a manner that creates the

appearance that he is or may be unable to perform his role in an

unbiased manner, or if the judge has demonstrated that he is unwilling

to carry out the law in a particular case.” Id. at 1446. Examples of

unwillingness to carry out the law include “when a district judge



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adheres to erroneous views after multiple remands, . . . or when a judge

questions the wisdom of the substantive law he has to apply and

challenges the government’s decision to prosecute the defendant.”

United States v. Gupta, 572 F.3d 878, 891 (11th Cir. 2009).

Reassignment also is necessary where the district judge’s position “has

become hardened against the Government, and he has evidenced a

commitment that clearly reflects that he is no longer able to view [the

case] impartially.” White, 846 F.2d at 696.

          For example, a case was reassigned on remand where the district

judge’s rulings appeared to stem from his belief that the defendant

could not “get a fair trial on the RICO counts due to the very nature of

RICO.” United States v. Bergrin, 682 F.3d 261, 283 (3d Cir. 2012). And

this Court has reassigned cases where the district judge, without

authority or adequate explanation, dismissed a criminal case that was

obviously at least sufficient to go to a jury. See United States v. Taylor,

972 F.2d 1247, 1252 (11th Cir. 1992); United States v. Spears, 827 F.2d

705, 709 (11th Cir. 1987).

          In addition, this Court has held that cases that have remained in

“a ‘stalemated posture’ because of the district judge’s intransigence



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require reassignment to another judge.” United States v. Remillong, 55

F.3d 572, 577 n.12 (11th Cir. 1995) (emphasis in original). A case is

“stalemated” if the judge persists in taking erroneous positions that

prevent the case from moving forward on its merits. For example, in

Brooks v. Central Bank of Birmingham, 717 F.2d 1340 (11th Cir. 1983),

this Court reassigned a case where the court’s improper sua sponte

constitutional objections to the appointment of counsel had prevented it

from reaching the merits of an attorney’s withdrawal motion. The Court

concluded that, “[i]n this stalemated posture, we have no alternative

except to direct that the case be transferred to another district judge for

a determination on the merits of the motion to withdraw.” Id. at 1343.

          Because reassignment under the Torkington test seeks to preserve

public confidence in the judicial system even where no evidence exists of

“actual bias,” a Torkington reassignment need not reflect poorly on the

district judge’s “actual ability, integrity, [or] impartiality.” Torkington,

874 F.2d at 1447. Instead, it may represent a “respon[se] to the

appearance of a lack of neutrality,” requiring the appellate court to “act

to preserve in the public mind the image of absolute impartiality and

fairness of the judiciary.” Id. at 1447. Reassignment thus “preserve[s]



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not only the reality but the appearance of the proper functioning of the

judiciary as a neutral, impartial administrator of justice.” Id.

          As discussed below, all three Torkington factors favor

reassignment here.

A.        Judge Cannon would have difficulty putting aside her
          previous views and findings.

          The Court should have little difficulty in finding the first

Torkington factor met on the facts of this case. Although this is not a

case in which the district judge flagrantly ignored this Court’s mandate,

the fact remains that a reversal here will mean that this Court has had

to reverse her three times—the first time regarding her denial of a stay

pending appeal from her special-master order, the second time

regarding her improper invocation of “equitable jurisdiction” to enter

that order, and now regarding her order dismissing the case on novel

constitutional grounds.

          In each instance, Judge Cannon adopted theories that directly

contradicted longstanding law, whether it be Richey’s stringent

limitations on the exercise of “equitable jurisdiction” or the Attorney




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General’s explicit statutory power to appoint special counsel, 52 as

confirmed by the unanimous Supreme Court decision in United States v.

Nixon. 53 Her rulings also evince a belief that ordinary legal procedures

and protections, by their “very nature,” 54 cannot result in a fair trial

where the defendant is a former president.

          At the time of this writing, briefing is not yet complete in this

third appeal and the Court has not yet issued a decision. But even the

Court’s opinion in the second appeal depicts a district judge who

ignored Trump’s inability to meet the Richey factors and repeatedly

“stepped in with [her] own reasoning” 55 to block the government’s access

to lawfully seized evidence. Judge Cannon’s conduct—including her

solicitation of legally baseless jury instructions—has repeatedly

appeared to cross the line from mere legal error to active judicial

intervention and advocacy on behalf of the former president. This

degree of non-neutral involvement does not bode well for her ability to


52
     See 28 U.S.C. §§ 509, 510, 515, 533.
53
  See United States v. Nixon, 418 U.S. 683, 694 (1974). Judge Cannon
preferred to follow the lead of Justice Thomas’s Trump concurrence—an
opinion joined by no other justice.
54
     Bergrin, 682 F.3d at 283.
55
     Trump II, 54 F.4th at 699.


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set aside her views on remand, as it suggests that she “questions the

wisdom of the substantive law [s]he has to apply,” Gupta, 572 F.3d at

891, and may be “unwilling to carry out the law in [this] particular

case,” Torkington, 874 F.2d at 1446. After all, it’s not every day that

this Court holds that affirming a district court’s ruling would require “a

radical reordering of our caselaw” and “violate bedrock separation-of-

powers limitations.” Trump II, 54 F.4th at 701.

          Judge Cannon’s acknowledgement that Trump’s PRA defense is

baseless, followed by her insistence that the parties prepare jury

instructions assuming that the defense is proper, could cause a

reasonable member of the public to question her likely aims and

conduct at a future trial on remand. Although Judge Cannon

acknowledged in open court that Trump’s PRA defense would “gut” the

PRA, she nevertheless deferred the issue to trial, where her loaded jury

instructions embodying the PRA defense were likely to produce an

acquittal. And she pursued this course of action despite the

Government’s urgent plea that she settle the PRA-defense issue well in

advance of trial so that the defense’s validity could be tested in this

Court before jeopardy attached.



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          Judge Cannon’s apparent creation of path to acquittal at trial

suggests to a reasonable member of the public that she “has become

hardened against the Government” and “has evidenced a commitment

that clearly reflects that [she] is no longer able to view [the case]

impartially.” White, 846 F.2d at 696. An observer reasonably could

conclude that Judge Cannon has no intention or ability to put aside her

negative view of the case. She gives every appearance of continuing to

believe that that the criminal prosecution of a former president entails

“stigma . . . in a league of its own” and “reputational harm of a

decidedly different order of magnitude,” 56 and that subjecting a former

president to ordinary criminal procedures therefore represents an

intolerable affront to his dignity.

          A member of the public thus would have reason to believe that on

remand, Judge Cannon will prove unable to put aside the views that led

her to take so many dramatic and unusual steps that undermined the

prosecution of this case.




56
     Trump, 625 F. Supp. 3d at 1266.


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B.        Reassignment is appropriate to preserve the appearance of
          justice.

          The second Torkington factor is met here as well. Judge Cannon’s

conduct of the case has provoked astonishment and concern across the

political spectrum. 57 As noted, the substance of her rulings alone has

created an appearance of bias and partiality. But so has her

administration of the case, which, even prior to the dismissal, made it

clear to the public that this relatively straightforward matter could not

be tried without protracted legal struggles.

          First, Judge Cannon tried to block the government from seeing or

using lawfully seized evidence until a special master could review it—a

step never before taken in a federal criminal case. Then, over the course

of nearly a year, the case went nowhere while Judge Cannon granted


57
   See, e.g., Charlie Savage, ‘Deeply Problematic’: Experts Question
Judge’s Intervention in Trump Inquiry, N.Y. TIMES, Sept. 5, 2022
(former prosecutor in independent-counsel investigation of Bill Clinton
called special-master order “egregious”, “genuinely unprecedented,” and
“simply untenable.”); Tierney Sneed & Hannah Rabinowitz, How Legal
Fights and Stalling by Judge Could Push Trump Documents Trial After
Election, CNN, Apr. 4, 2024 (former Trump White House lawyer said
Cannon’s delays “clearly create[] the perception . . . of partiality and her
attempt to put her thumb on the scale”); Rebecca Beitsch, Cannon
Comes Under Scrutiny for Plodding Pace of Trump Documents Case,
THE HILL, June 27, 2024 (former Trump impeachment-defense counsel
said Cannon’s delays were “playing right into the defense’s hands”).


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hearing time to nearly every theory that Trump’s counsel could conjure

up. During this period of stalling and theory-testing, the litigation

became “stalemated” in a way that has, itself, been held to require

reassignment in other cases. See Remillong, 55 F.3d at 577 n.12;

Brooks, 717 F.2d at 1343. But as soon as a one-Justice concurrence in

the Supreme Court’s immunity decision pointed toward a possible exit,

the “stalemate” suddenly became a cavalry charge: In just two weeks,

Judge Cannon had penned a 93-page decision abruptly dismissing the

case based on the reasoning of that lone concurrence.

          No one can know what was in Judge Cannon’s mind as she

repeatedly delayed the Government’s case. But it seems virtually

indisputable that her conduct could suggest—and indeed has

suggested—“a lack of impartiality” to the minds of many “reasonable

member[s] of the public.” Torkington, 874 F.2d at 1446. Under these

circumstances, reassignment need not reflect badly on Judge Cannon’s

“actual ability, integrity, [or] impartiality,” id. at 1447; instead, it

represents an appropriate “respon[se] to the appearance of a lack of

neutrality,” requiring the appellate court to “act to preserve in the




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public mind the image of absolute impartiality and fairness of the

judiciary.” Id. at 1447.

          Judge Cannon’s extraordinary legal and administrative

interventions in this case have raised an unavoidable inference of bias

in the public mind. The case therefore should be reassigned to preserve

the appearance of justice.

C.        The gains realized from reassignment would far outweigh
          any waste and duplication caused by reassignment.

          The third Torkington factor is easily satisfied here.

          The cost-benefit analysis embodied in the third factor usually

favors reassignment where—as here—the case has yet to be tried. See

White, 846 F.2d at 696 n.29 (“There will not be unnecessary duplication

because five of these [six] cases have yet to be tried . . . .”); cf. CSX

Transp., Inc. v. State Bd. of Equalization, 521 F.3d 1300, 1301 (11th

Cir. 2008) (finding third Torkington factor not satisfied where the

district judge had “presided over an eight-day trial that concerned a

complicated subject and drafted a thorough 27-page opinion”).

          The fact that the judge already has spent “significant time” on the

case is not dispositive where—as here—the case is straightforward and

the judge has failed to manage it adequately or to determine key issues



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in the case despite having presided over it for many months. See

Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1374 (11th Cir.

1997). Judge Cannon’s May 7, 2024 order taking the case off calendar

was itself an admission that much of the pretrial work in the case

remained to be done—because Judge Cannon had accomplished so little

during the preceding year.

          Finally, concerns about waste and duplication are assuaged

where—as here—prior published opinions in the case “provide much of

the essential information.” Gupta, 572 F.3d at 892.

          Accordingly, in this case, reassignment’s power to restore public

trust in the fairness and evenhandedness of the judicial system plainly

outweighs any inefficiencies.


                              VII. CONCLUSION

          Although Judge Cannon sometimes has appeared to be forging a

parallel legal universe for former presidents, there is one respect in

which Trump’s unique status and global visibility ought to influence the

reassignment analysis: Those factors arguably make it more important

than in any prior case that “justice should not only be done, but should




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manifestly and undoubtedly be seen to be done.” White, 846 F.2d at 696

(emphasis in original).

          Accordingly, if the Court reverses the district court’s judgment, it

also should order the case reassigned to a different district judge on

remand.

Dated: September 3, 2024              Respectfully submitted,

                                      KEKER, VAN NEST & PETERS LLP

                                      /s/Steven A. Hirsch
                                      STEVEN A. HIRSCH
                                      California Bar No.: 171825

                                      Attorneys for Amici Curiae




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              CERTIFICATE OF COMPLIANCE (FRAP 32(g))

          1. This brief contains 6,474 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

          2. This brief complies with the typeface requirements of Fed. R.

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Dated: September 3, 2024              KEKER, VAN NEST & PETERS LLP



                                      /s/Steven A. Hirsch
                                      STEVEN A. HIRSCH
                                      California Bar No.: 171825

                                      Attorneys for Amici Curiae




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          I HEREBY CERTIFY that on September 3, 2024, a true and

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Dated: September 3, 2024           KEKER, VAN NEST & PETERS LLP



                                   /s/Steven A. Hirsch
                                   STEVEN A. HIRSCH
                                   California Bar No.: 171825

                                   Attorneys for Amici Curiae




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2746660
